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   12                  UNITED STATES DISTRICT COURT
   13
                      CENTRAL DISTRICT OF CALIFORNIA
   14
   15
   16    NORA PHILLIPS; ERIKA PINHEIRO; CASE NO: 2:19-cv-06338
         and NATHANIEL DENNISON;
   17                                   CERTIFICATE OF SERVICE OF
                                        PLAINTIFFS’ APPLICATION FOR
   18         Plaintiffs,               LEAVE TO FILE UNDER SEAL
         v.
   19
   20    UNITED STATES CUSTOMS AND
         BORDER PROTECTION; MARK
   21
         MORGAN; UNITED STATES
   22    IMMIGRATION AND CUSTOMS
         ENFORCEMENT; MATTHEW
   23
         ALBENCE; FEDERAL BUREAU OF
   24    INVESTIGATION; and
         CHRISTOPHER WRAY,
   25
              Defendants.
   26
   27
   28
Case 2:19-cv-06338-SVW-JEM Document 59 Filed 11/12/20 Page 2 of 2 Page ID #:1346


    1         I am employed in the County of Los Angeles, State of California. I am over
    2   the age of 18 and not a party to the within action. My business address is 1313 West
    3   Eighth Street, Los Angeles, California 90017.
    4         On November 12, 2020, I served copies of the foregoing documents:
    5         DECLARATION OF MOHAMMAD TAJSAR IN SUPPORT OF
    6         APPLICATION TO FILE UNDER SEAL
    7         EXHIBIT J TO AMENDED DECLARATION OF MOHAMMAD
    8         TAJSAR IN SUPPORT OF EX PARTE APPLICATION FOR
              ADDITIONAL DEPOSITIONS AND TRIAL CONTINUANCE
    9
   10         EXHIBIT K TO AMENDED DECLARATION OF MOHAMMAD
              TAJSAR IN SUPPORT OF EX PARTE APPLICATION FOR
   11         ADDITIONAL DEPOSITIONS AND TRIAL CONTINUANCE
   12
              on the interested parties listed below at the following addresses:
   13
   14    Martin Tomlinson                              Attorney for Defendants
         Civil Division, Federal Programs Branch
   15    United States Department of Justice
   16    martin.m.tomlinson@usdoj.gov

   17
   18         XX     BY EMAIL

   19
   20                I caused the foregoing document(s) to be transmitted to the addressees

   21   listed above, and to the best of my knowledge, the transmission was complete and

   22   without error in that I did not receive an electronic notification to the contrary.

   23
   24         Executed on November 12, 2020, at Belleair Bluffs, Florida.

   25
   26                                           _____________________________
                                                Casey Kasher
   27                                           ACLU Foundation of Southern California
   28


                                       CERITIFCATE OF SERVICE
                                                 1
